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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 UNITED STATES OF AMERICA,                           )
                                                     )
      Plaintiff,                                     )
                                                     )
 V.                                                  ) No. 4:22-CR-465 HEA
                                                     )
 JACOB BURNEY,                                       )
                                                     )
      Defendant.                                     )


                                 GUILTY PLEA AGREEMENT

          Come now the parties and hereby agree as follows:

1.     PARTIES

         The parties are the defendant JACOB BURNEY, represented by defense counsel Rex

Bradley, and the United States of America (hereinafter "Government"), represented by the Office

of the United States Attorney for the Eastern District of Missouri. This agreement does not, and

is not intended to, bind any governmental office or agency other than the United States Attorney
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for the Eastern District of Missouri. The Cami is neit~er a party to nor bound by this agreement.

2.     GUILTY PLEA

         Pursuant to Federal Rule of Criminal Procedure 1 l(c)(l)(A), in exchange for the

defendant's voluntary plea of guilty to Count One of the charge, the Government agrees that no

further federal prosecution will be brought in th1s District relative to circumstances that gave rise

to the indictment, of which the Government is aware at this time.

         In addition, the parties agree that the U.S. Sentencing Guidelines Total Offense Level

analysis agreed to by the parties herein is the result of negotiation and led, in part, to the guilty

plea. As part of this agreement, the parties jointly recommend the statutory minimum of 120


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 months. The government also agrees that it will not object to the defendant's request to run this

 sentence concurrent.with current.st~te charges in Mo. ·cause'no.·/   7-r+U.. (?,'2,ctJ_s-..5-0 - () I
        The defendant agrees to forfeit to the United States all property subject to forfeiture under

the applicable statute(s), and the defendant knowingly and voluntarily waives any right, title, and

interest in all items (including all data contained therein) seized by law enforcement officials

during the course of their investigation, whether or not they are subject to forfeiture, and agrees

not to contest the vesting of title of such items in the United States.

3.    ELEMENTS

        As to Count One, the defendant admits to knowingly violating Title 18, United States

Code, Section 2423(a), and admits there is a factual basis for the plea and further fully

understands that the elements of the crime are:

       · (1) The defendant knowingly transported Minor Victim # 1 across a state line;

       (2) Th~ defendant transported Minor Victim #1 with the intent such person engage in

           sexual activity for which the defendant could be charged with a criminal offense, that

           is; Statutory Rape;

       (3) Minor Victim #1 was under the age of eighteen years; and

       (4) The ~rime of Statutory Rape is a crime under the laws under the State of Missouri.




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 4.    FACTS

         The parties agree that the facts in this case are as follows and that the Government would

 prove these facts beyond a reasonable doubt if the case were to go to trial. These facts may be

 considered as relevant conduct pursuant to Section 1B 1.3:

        On December 14, 2021, Homeland Security Investigations m St. Louis, Missouri

 received a National Hotline Tip regarding a potential victim of trafficking that had been missing

since December 8, 2021.

        Prior to December 8, 2021, Minor Victim #1 (MVI) became involved in sexual

relationship with Burney. Burney was well aware that MVl was 13 years of age. On or about

December 8, 2021, MVl ran away to be with Burney and another Known Adult Male (KAM).

Upon learning that MVI was reported missing, KAM suggested they all leave the states of

Missouri to prevent law enforcement from finding MV 1 so Burney could continue his

relationship with MVl.       Burney, aware that local law enforcement was investigating his

relationship with MVI, switched vehicles prior to leaving the state with MVI. Additionally,

MVl dyed her/his hair multiple times to prevent law enforcement from finding MVI.
                                                          _,I



        Burney, MVl and KAM traveled from the Saint Louis area to Illinois and eventually to

Las Vegas. During this trip, Burney provided drugs and alcohol to MVI. While on_ the trip,

Burney had sexual intercourse with MFl in the car ind in the hotels. MFI reported to law

enforcement that she/he probably engaged in sexual intercourse in every state that they visited.

This trip h1cluded the state of Illinois and all the states between Illinois and Nevada as the travel

occurred in an automobile.




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            Missouri Revised Statute 566.032 (Statutory Rape 1st Degree), makes it illegal for anyone

 over the age of 21 to have sexual intercourse with another person who is less than fourteen years

 of age.

           Missouri Revised Statute 566.034 (Statutory Rape 2nd       Degree), makes it illegal for

 anyone over the age of 21 to have sexual intercourse with another person who is less than

 seventeen years of age.

 5.    STATUTORYPENALTIES

           The defendant fully understands that for Count I, the maximum possible penalty provided

by law for Title 18, United States Code, Section 2423(a), to which the defendant is pleading

guilty, is imprisonment not less than 10 years, a fine of not more than $250,000, or both such

imprisonment and fine. The Court shall also impose a period of supervised release of five years

to life.     The defendant fully understands that the crime to which a guilty plea is being

entered requires a mandatory minimum term of imprisonment of at least 10 years,· thus 10

years to life.


6.    U.S. SENTENCING GUIDELINES (2021 MANUAL)

           The defendant understands that this offense is affected by the U.S. Sentencing Guidelines

and the actual sentencing range is determined by both the Total Offense Level a1:,d the Criminal

History Category. The parties agree that the following are the U.S. Sentencing Guidelines Total

Offense Level provisions that apply.

           a. Chapter 2 Offense Conduct:

                  (1) Base Offense Level: The parties agree that the base offense level is twenty-

eight, as found in Section 2G 1.3(a)(3).




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                 (2)   Specific Offense Characteristics: The parties agree that the following

 Specific Offense Characteristics apply:

                (1) Because the offense involved the commission of a sex act or sexual contact,

 the total offense level increases by 2 levels.

                (2) Because the offense involved the use of a computer or an interactive computer

 service to persuade, induce, entice, coerce, or facilitate the travel of, the minor to engage in

prohibited sexual conduct, the total offense level increases by 2 levels.

        b. Chapter 3 Adjustments:

                (1) Acceptance of Responsibility: The parties agree that three levels should be

deducted pursuant to Section 3El. l(a) and (b) because the defendant has clearly demonstrated

acceptance of responsibility and timely notified the Government of the defendant's intention to

plead guilty. The parties agree that the defendant's eligibility for this deduction is based upon

information presently known. If the Government subsequently receives new evidence of
                                   I   (


statements or conduct by the defendant which it believes are inconsistent with defendant's

eligibility for this deduction, the Government may present said evidence to the Court and argue

that the defendant should not receive all or part of the deduction pursuant to Section 3El.1

without violating the plea agreement.

       c. Estimated Total Offense Level: The parties estimate that the Total Offense Level is

twenty-nine.

       d. Criminal History: The detennination of the defendant's Criminal History Category

shall be left to the Court. Either party may challenge, before and at sentencing, the finding of the

Presentence Report as to the defendant's criminal history and the applicable category. The




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  defendant's criminal history is known to the defendant and is substantially available in the

  Pretrial Services Report.

          e. Effect of Parties' U.S. Sentencing Guidelines Analysis: The parties agree that the

  Court is not bound by the Guidelines analysis agreed to herein. The parties may not have

  foreseen all applicable Guidelines. The Court may, in its discretion, apply or not apply any

  Guideline despite the agreement herein, and the parties shall not be permitted to withdraw from

  the plea agreement. 'fhe Government recognizes it is bound by the specific agreements made

  herein but reserves the right to answer any questions the U.S. Probation Office or the Court

  might have related to sentencing or present evidence at the Court's request.

  7.   WAIVER OF APPEAL AND POST-CONVICTION RIGHTS

         a. Appeal: The defendant has been fully apprised by defense coJ.msel of the defendant's

 rights concerning appeal and fully understands the right to appeal the sentence under Title 18,

 United States Code, Section 3742.

                 (1)   Non-Sentencing Issues: The parties waive all rights to appeal all non-

 jurisdictional, non-sentencing issues, including, but not limited to, any issues relating to pretrial

 motions, discovery and the guilty plea, the constitutionality of the statute(s) to which defendant

 is pleading guilty and whether defendant's conduct falls within the scope of the statute(s).

                (2) Sentencing Issues: In the event the Court accepts the plea, accepts the U.S.

 Sentencing Guidelines Total Offense Level agreed to herein, and, after determining a Sentencing

 Guidelines range, sentences the defendant within or below that range, then, as part of this

· agreement, the defendant hereby waives all rights to appeal all sentencing issues other than

 Climinal History, but only if it affects the Base Offense Level or Criminal History Category.

 Similarly, the Government hereby waives all rights to appeal all sentencing issues other than



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 Criminal History, provided the Comi accepts the plea, adopts the agreed Total Offense Level,

 and sentences the defendant within or above that range.

        b. Habeas Corpus: The defendant agrees to waive all rights to contest the conviction or

 sentence in any post-conviction proceeding, including one pursuant to Title 28, United States

 Code, Section 2255, except for claims of prosecutorial misconduct or ineffective assistance of

 counsel.

        c. Right to Records: The defendant waives all rights, whether asserted directly or by a

representative, to request from any department or agency of the United States any records

pe1iaining to the investigation or prosecution of this case, including any records that may be

sought under the Freedom of Information Act, Title 5, United States Code, Section 552, or the

Privacy Act, Title 5, United States Code, Section 552a.

8.    OTHER

        a, Disclosures Required by the United States Probation Office: The defendant agrees

to truthfully complete and sign forms as required by the United States Probation Of6:ce prior to

sentencing and consents to the release of these fonns and any supporting documentation by the

United States Probation Office to the Governrnent.

       b. Civil or Administrative Actions not Barred; Effect on Other Government Agencies:

Nothing contained herein limits the rights and authority of the United States to take any civil,

tax, immigration/deportation, or administrative action against the defendant.

       c. Supervised Release: Pursuant to any supervis_ed release term, the Comi will impose

standard ·conditions upon the defendant and may impose special conditions related to the crime

defendant committed. Some of these special conditions may include that defendant not possess a

computer or internet access, that defendant not have contact with minors without the



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 authorization of the Probation Officer, that defendant participate in sexual offender counseling,

 and that defendant not maintain a post office box. In addition, as a condition of supervised

 release, the defendant shall initially register with the state sex offender registration in Missouri

 and shall also register with the state sex offender registration agency in any state where

defendant resides, is employed, works, or is a student, as directed by the Probation Officer. The

defendant shall comply with all requirements of federal and state sex offender registration laws.

        These and any other special conditions imposed by the Court will be restrictions with

which defendant will be required to adhere. Violation of the conditions of supervised release

resulting in revocation may require the defendant to serve a term of imprisonment equal to the
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length of the term of supervised release, but not greater than the te1m set forth in Title 18, United

States Code, Section 3583(e)(3), without credit for the time served after release. The defendant

understands that parole has been abolished.

        d. Mandatory Special Assessment: Pursuant to Title 18, United States Code, Section

3013, the Court is required to impose a mandatory special assessment of $100 per count for a

total of $100, which the defendant agrees to pay at the time of sentencing. Money paid by the

defendant toward any restitution or fine imposed by the Court shall be first used to pay any

unpaid mandatory special assessment.

       Pursuant to Title 18, United States Code, Section 3014, for offenses occurring on or after

May 29, 2015, and before December 16, 2022, the Court is required to impose an assessment of

$5,000 on any non-indigent defendant convicted of an offense under-

               (4)     Chapter 117 (relating to transportation for illegal sexual activity and
                     · related crimes, including, but not limited to, 18 U.S.C. § 2422(b)
                       (enticement of a child) and 18 U.S.C. § 2423 (transportation of minors));
                       or



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         T~1e assessment imposed under 18 U.S.C. § 3014 is in addition to the mandatory special

 assessment imposed under 18 U.S.C. § 3013;

         e. Possibility of Detention: The defendant shall be subject to immediate detention

 pursuant to the provisions of Title 18, United States Code, Section 3143.

         f. Fines, Restitution and Costs of Incarceration and Supervision: The Comi may

 impose a fine, restitution (in addition to any penalty authorized by law), costs of incarceration

and costs of supervision. The defendant agrees that any fine or restitution imposed by the Comi

will be due and payable immediately. Pursuant to Title 18, United States Code, Sections 3663A

and 2259, an order of restitution is mandatory for all crimes listed in Sections 3663A(c) and

2259. Regardless of the Count of conviction'° the amount of mandatory restitution imposed shall

include all amounts allowed by Sections 3663A(b) and 2259 and the amount of loss agreed to by

the parties, including all relevant conduct loss. The defendant agrees to provide full restitution to

all victims of all charges in the indictment without regard to the count or counts to which the

defendant has agreed to plead guilty. Under Section 2259(c)(3), the minimum amount of

restitution per victim for each count of conviction is $3000 for crimes occu1Ting on and after

December 7, 2018.

        g. Forfeiture: The defendant knowingly and voluntarily waives any right, title, and

interest in all items seized by law enforcement officials during the course of their investigation,

whether or riot they are subject to forfeiture, and agrees not to contest 'the vesting of title of such

items in the United States. The defendant agrees to abandon his interest in all seized items and

further agrees that said items may be disposed of or destroyed by law enforcement officials in

any manner without further notice. By abandoning these items, the defendant waives any future

rights to receive additional notice, a valuation of the items, or the opportunity to submit a claim



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 to contest the disposition or destruction of the items that may exist under any policjes or

 procedures of.the seizing agency(ies).

        The defendant agrees the stipulated facts above are sufficient to support forfeiture of

 certain assets pursuant to the applicable forfeiture authorities. The defendant consents that the

 Court may enter a consent preliminary order of forfeiture any time before sentencing, and such

 Order will become final as to the defendant_ when it is issued and will be part of the

sentence. The defendant agrees not to object to any administrative, civil, or criminal forfeiture

brought against any assets subject to forfeiture. The defendant will execute any documents and

take all steps needed to transfer title or ownership of said assets to the Government and/or to

rebut the claims of nominees and/or alleged third party owners. The defendant knowingly and

intelligently waives all constitutional, statutory, and equitable challenges to any forfeiture canied

out in accordance with this plea agreement, including but not limited to that defendant was not

given adequate notice of forfeiture in the charging instrument.

9.    ACKNOWLEDGMENT AND WAIVER OF THE DEFENDANT'S RIGHTS

        In pleading guilty, the defendant acknowledges, fully understands, and hereby waives his

rights, including but not limited to: the right to plead not guilty to the charges; the right to be

tried by a jury in a public and speedy trial; the right to file pretrial motions, including motions to

suppress or exclude evidence; the right at such trial to a presumption of innocence; the right to

require the Government to prove the elements of the offenses charged against the defendant

beyond a reasonable doubt; the right not to testify; the right not to present any evidence; the right

to be protected from compelled self-incrimination; the right at trial to confront and cross-

examine adverse witnesses; and the right to testify and present evidence and the right to compel
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 the attendance of witnesses. The defendant further understands that by this guilty plea, the .

 defendant expressly waives all the rights set forth in this paragraph.

         The defendant fully understands that the defendant has the right to be represented by

 counsel, and if necessary, to have the Comi appoint counsel at trial and at every other stage of the

 proceeding. The defendant's counsel has explained these rights and the consequences of the

 waiver of these rights. The defendant fully understands that, as a result of the guilty plea, no trial

 will, in fact, occur and that the only action remaining to be taken in this case is the imposition of

 the sentence.

        The defendant understands that, by pleading guilty, the defendant will be subject to

federal and state sex offender registration requirements and that those requirements may apply

for life. The defendant understands that the defendant must keep said registrations cunent, shall

notify the state sex offender registration agency or agencies of any changes in name, place of

residence, employment, or student stah1s, or other relevant information. The defendant shall

comply with requirements to periodically verify in person said sex offender registration.

information. The defendant understands that the defendant will be subject to possible federal and

state penalties for failure to comply with any such. sex offender registration requirements. If the

defendant resides in Missouri following release from prison, the defendant will be subject to the

registration requirements of Missouri state law. The defendant further understands that, under 18

U.S.C. § 4042(c), notice will be provided to certain law enforcement agencies upon release from

confinement following conviction. Defense counsel has advised the defendant of the possible sex

offender registration consequences resulting from the plea.

       The defendant knowingly and voluntary waives any rights and defenses ~efendant may

have under the Excessive Fines Clause of the Eight Amendment to the United States Constitution



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 to the forfeiture of property in this proceeding or any related civil proceeding, special or other

 assessment, and any order of restitution.

          If the defendant is not a U.S. citizen, the guilty plea could impact the defendant's

 immigration status or result in deportation. In particular, if any crime to which the defendant is

 pleading guilty· is an "aggravated felony" as defined by Title 8, United States Code, Section

 110l(a)(43), removal or depo1iati'on is presumed mandatory. Defense counsel has advised the

 defendant of the possible immigration consequences, including deportation, resulting from the

 plea.

          The defendant is fully satisfied with the representation received from defense counsel.

The defendant has reviewed the Government's evidence and discussed the Government's case

and all possible defenses and defense witnesses with defense counsel. Defense counsel has

completely and satisfactorily explored all areas which the defendant has requested relative to the

Goyernment' s case and any defenses.

10.      VOLUNTARY NATURE OF THE GUILTY PLEA AND PLEA AGREEMENT

          This document constitutes the entire agreement between the defendant and the

Government, and no other promises or inducements have be.en made, directly or indirectly, by

any agent ofth~ Government, including any Depaiiment of Justice attorney, concerning any plea

to be entered in this case. In addition, the defendant states that no person has, directly or

indirectly, threatened or coerced the defendant to do or refrain from doing anything in

c01mection with any aspect of this case, including entering a plea of guilty.

         The defendant acknowledges having voluntarily entered into both the plea agreement and

the guil_ty plea. The defendant further acknowledges that this guilty plea is macie of the

defendant's own free will and that the defendant is, in fact, guilty.



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 11.   CONSEQUENCES OF POST~PLEA MISCONDUCT

         After pleading guilty and before sentencing, if the defendant commits any crime other

 than minor traffic offenses, violates any conditions of release that results in revocation, violates

 any term of this guilty-plea agreement, intentionally provides misleading, incomplete or

 untruthful information to the U.S. Probation Office, or fails to appear for sentencing, the United

 States, at its qption, may be released from its obligations under this agreement. The Government

 may also, in its discretion, proceed with this agreement and may advocate for any sentencing

 position supported by the facts, including but not limited to obstruction of justice and denial of

 acceptance of responsibility.

 12.   NO RIGHT TO WITHDRAW GUILTY PLEA

        Pursuant to Federal Rule of Criminal Procedure 1 l(c) and (d), the defendant understands

that there will be no right to withdraw the plea entered under this agreement, except where the ·

Court rejects those portions. of the plea agreement which deal with charges the Government

agrees to dismiss or not to bring.



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                                                     DI
                                                        Q    .d/&M
                                                        A R. COLLINS
                                                     Assistant United States Attorney

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 I/- 3 o-
       Date
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                                               ~uRNEY~~
                                                · Defendant




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